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                                                                                                           about (/about)
                                                                                                              sales (/sales)
CLOSINGS/PRICING (/CONTACT)                                                                    acquisitions (/acquisitions)
                                                                                               testimonials (/testimonials)

                                                                             (/)


           NQ.com - Now for Sale for a Limited Time -
                     Request Availability
APRIL 6,   · PREMIUM DOMAIN (/BLOG/TAG/PREMIUM+DOMAIN), 2 LETTER .COM DOMAINS (/BLOG/TAG/2+LETTER+.COM+DOMAINS), LL .COM
2023       DOMAIN FOR SALE (/BLOG/TAG/LL+.COM+DOMAIN+FOR+SALE)




     Thanks for your interest in NQ.com - If you are
 interested in purchasing this domain, please click the
 button below to get in contact. Some Value Points for
                       the domain:

                               1. Highly Aged (SEO Benefits)                                                     A
                                     (NQ.COM HAS BEEN ACTIVE SINCE 1995)


              2. Highly Sought After (Value Appreciation)
                    (393,800+ OTHER WEBSITES USE THE TERM “NQ” IN THEIR DOMAIN)


       3. Highly Competitive (#1 Brand of its Keyword)
                         (“NQ” IS TAKEN IN 111+ OTHER EXTENSIONS BESIDES .COM)


       4. High Comparable Sales (Best Value Indicator)
(ONE OF 676 2 LETTER .COM DOMAINS, THESE DOMAINS CONSISTENTLY SELL IN THE 7-8 FIGURE
                                       RANGE)




Use the button below to go to our contact page where
   you fill out a form to express your interest in this
domain. NOTE: we do not respond to inquiries that we
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 deem  to be unserious - unserious inquiries include
those with too small of offers, ones without traceable
contact/company names, & anyone potentially using
                           shady tactics.


       EXPRESS Y O U R I NTEREST I N THI S DOMAI N (HTTPS:/ / Q EI P. CO M/ CO NTACT)




We believe it’s imperative to operate with the upmost
 transparency and goodwill as it relates to helping
  companies find the right brand - we will only do
    business with people who respect our values.

  We understand that domain value is something not
     taught in business school but we ask that you do
      some research on it before attempting to make
 contact or putting together an offer. The domains we
sell vary from $10k-$10M USD+ (and the prices we have
are backed by market data) - chances are that if the
domain in question is a high use generic domain (or is
   in a very rare category), it will be priced between at
    least 500k-5M. If you don’t have this kind of capital
  laying around, we are open to talking financing (but
   only to accredited individuals). Thank you for taking
                    the time to read this.
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                          (HTTPS://WWW.FACEBOOK.COM/SHARER/SHARER.PHP?U=HTTPS%3A%2F%2FWWW.QEIP.COM%2FBLOG%2FNQCOM)


                             (HTTPS://TWITTER.COM/INTENT/TWEET?URL=HTTPS%3A%2F%2FWWW.QEIP.COM%2FBLOG%2FNQCOM&TEXT=)


    (HTTPS://WWW.LINKEDIN.COM/SHAREARTICLE?MINI=TRUE&SOURCE=QEIP+-+INTERNET+PROPERTY+AGENTS&SUMMARY=&URL=HTTPS%3A%2F%2FWWW.QEIP.COM%2FBLOG%2FNQCOM)




PREVIOUS

*NEW* Couch.com is Now for Sale/Lease - Reach Out to Confirm Availability
(/blog/couchcom)
                                                                                                                                 NEXT

                Scalar.com - Now for Sale for a Limited Time - Bidding Process ends 6/30/2023
(/blog/scalarcom)




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